        Case 3:22-cv-00211-SDD-SDJ             Document 311        11/22/23 Page 1 of 9




                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

 PRESS ROBINSON, et al.,

 Plaintiffs,                                       Civil Action No. 3:22-cv-00211-SDD-SDJ
 v.                                                Chief Judge Shelly D. Dick
 KYLE ARDOIN, in his official capacity as          Magistrate Judge Scott D. Johnson
 Secretary of State for Louisiana,

 Defendant.

 EDWARD GALMON, SR., et al.,

 Plaintiffs,                                       Consolidated with
                                                   Civil Action No. 3:22-cv-00214-SDD-SDJ
 v.

 R. KYLE ARDOIN, in his official capacity as
 Secretary of State for Louisiana,

 Defendant.


                        DEFENDANTS’ JOINT RESPONSE TO
               PLAINTIFFS’ JOINT MOTION FOR STATUS CONFERENCE

        Defendant Louisiana Secretary of State Kyle Ardoin, in his official capacity; Intervenor-

Defendant the State of Louisiana (the “State”), by and through Jeff Landry, the Attorney General

of Louisiana; and Intervenor-Defendants Clay Schexnayder and Patrick Page Cortez, in their

official capacities (collectively, “Defendants”) file this Joint Response to Plaintiffs’ Joint Motion

for Status Conference, (ECF No. 307), pursuant to this Court’s order. (ECF No. 308).

                                        INTRODUCTION

        On November 10, 2023, the Court of Appeals for the Fifth Circuit vacated this Court’s

2022 preliminary injunction enjoining HB 1. Robinson v. Ardoin, No. 22-30333, 2023 U.S. App.
        Case 3:22-cv-00211-SDD-SDJ             Document 311        11/22/23 Page 2 of 9




LEXIS 30039, at *47 (5th Cir. Nov. 10, 2023). The Fifth Circuit “conclude[d] that a preliminary

injunction is no longer needed to prevent an irreparable injury from occurring before” a 2024 trial

on the merits. Id. at *46. The court explained that Louisiana’s 2024 elections calendar presents

“no imminent deadline,” as “[t]he qualifying deadlines are not until July 2024, so a preliminary

injunction, which is an extraordinary remedy, is no longer required to prevent the alleged elections

violation.” Id. at *47.

        Consequently, the Fifth Circuit instructed this Court “to conduct no substantive

proceedings until the earliest of (1) the completion of legislative action, (2) notice indicating the

Legislature will not create new districts, or (3) January 15, 2024.” Id. at *49. The Court also noted

that “[s]hould the Legislature be considering adopting a new map at that deadline, the district court

has discretion to provide modest additional time, though not of such length as to prevent the district

court from timely completing its work.” Id. at *49–50. It further cautioned that although “[t]he

district court is not prevented by [its] opinion from conducting proceedings to schedule future

proceedings,” its future scheduling must follow “the guidance established in this opinion.” Id. at

*50.

        Finally, the Fifth Circuit summed up the potential procedural avenues that this case might

take in the district court, providing that:

         If the Legislature adopts a new districting plan and it becomes effective, then that
        map will be subject to any challenge these Plaintiffs bring. If no new plan is
        adopted, then the district court is to conduct a trial and any other necessary
        proceedings to decide the validity of the H.B. 1 map, and, if necessary, to adopt a
        different districting plan for the 2024 elections. The parties can advise the district
        court as to the necessary timing for completion of such a trial, with allowance for
        the time for appellate review.
Id. at *50–51.

        The same day, Governor-elect Jeff Landry issued a press release stating he would call a

special session of the Louisiana Legislature to “resolve this issue” once he is inaugurated. See


                                                  2
        Case 3:22-cv-00211-SDD-SDJ               Document 311         11/22/23 Page 3 of 9




Meghan Friedmann, Court Gives Louisiana Legislature Last Chance to Redraw Congressional

Map,       NOLA.com,          https://www.nola.com/news/politics/legislature/court-gives-louisiana-

legislature-last-chance-to-redraw-congressional-map/article_a8282ce0-8016-11ee-a0d2-

53035766b5c9.html (Nov. 10, 2023) (“Gov.-elect Jeff Landry, whose inauguration is scheduled

for Jan. 8, has indicated he will call a special legislative session to handle the redistricting issue.”).

        On November 20, 2023, Plaintiffs filed a Joint Motion for Status Conference, asking this

Court to convert “the previously scheduled remedial hearing dates, February 5–9, 2024, into a trial

on the merits.” (ECF No. 307 at 4.) Plaintiffs opined that “[c]onverting the scheduled remedial

hearing to a trial on the merits would require minimal change to the parties’ preparation over the

next few months.” (Id. at 5.) Plaintiffs therefore concluded by asking for a status conference, (id.

at 6), which this Court granted, ordering Defendants to respond to Plaintiffs’ motion, (ECF No.

308).

        Although Defendants agree that a status conference is necessary to determine the

appropriate date for a trial on the merits (as well as any discovery associated therewith),

Defendants disagree that the currently scheduled remedial hearing—slated for February 5–9,

2024—can serve as an appropriate date for such a trial.

                         ARGUMENT AND PROPOSED NEXT STEPS

        Plaintiffs’ suggestion to move forward with February 5–9 trial dates is untenable, and

Defendants request that a trial on the merits instead be held, at the earliest, the week of March 11–

15, 2024. The remedial hearing cannot feasibly be converted into a trial, as that schedule does not

permit necessary pre-trial proceedings, such as discovery. Plaintiffs also ignore the current

electoral realities in Louisiana. The current legislative and statewide constitutional officers are




                                                    3
         Case 3:22-cv-00211-SDD-SDJ                   Document 311          11/22/23 Page 4 of 9




ending their terms, the results of some elections of November 18, 2023 are not yet certified,1 and

new officer-holders (including the Governor-elect) will not take office until January 8, 2024. As

previously stated, the Governor-elect has vowed to call a special session to address redistricting.

As the Fifth Circuit noted, the “present uncertainty of what will occur by January 15 leaves

[subsequent] steps contingent.” Robinson, No. 22-30333, 2023 U.S. App. LEXIS 30039, at *5.

Plaintiffs’ proposed trial deadlines will not allow for the “present uncertainty” to be resolved

before trial.

        First, Louisiana’s mandatory legislative procedure takes time. After Governor-elect Landry

is inaugurated and calls the Legislature into special session, the earliest possible date that a plan

adopted in that session could become effective is January 25, 2024—i.e., ten days after the current

deadline for legislative action. And that January 25 date assumes that the following events will

occur in order and with no other delays that frequently accompany the legislative process:

    •   January 8, 2024 – Governor-elect Landry sworn in as Governor, and Members of the
        Legislature take office.2 See La. Const. Art. IV, Sec. 3; La. Const., Art. III, Sec. 5(A).
    •   January 8, 2024 – Governor Landry issues a Proclamation stating “the objects of the
        Extraordinary Session,” the date it shall convene, and number of days for which it will be
        convened. See La. Const. Art. III, Sec. 2(B).
    •   January 15, 2024 – Extraordinary Session convenes “at least seven calendar days” after
        issuance of the Proclamation. Session length is limited to the number of days stated in the
        proclamation, not to exceed thirty calendar days. See id.
    •   January 15–19, 22–25, 2024 – Each bill shall be read at least by title on “three separate
        days in each house,” and committee must hold public hearing and reports on the bill. See
        La. Const. Art. III, Sec. 15(D) (emphasis added); S. Rule 10.6.



1
  Elections are scheduled to be certified on December 1, 2023. The deadline to file any election contest is
November 27, 2023.
2
  A new Attorney General and new Secretary of State, both defendants in this proceeding, will also be sworn in on
January 8, 2024. La. Const. Art. IV, Sec. 3.


                                                         4
        Case 3:22-cv-00211-SDD-SDJ              Document 311      11/22/23 Page 5 of 9




    •   January 15, 2024 – Bill Introduced in House during Extraordinary Session – First
        Reading. See La. Const. Art. III, Sec. 15(A); H. Rule 8.10.
    •   January 16, 2024 – House Second Reading – Referred to Committee. See H. Rule 8.12.
    •   January 17, 2024 – House Committee Hearing/Report issued. See H. Rule 8.14.
    •   January 18, 2024 – Bill read and debated on Floor (Third Reading); Bill passes with
        majority of House and is sent to Senate. See La. Const. Art. III, Sec. 15(G); see also
        House Rules 8.9, 8.10, 8.12, 8.13, 8.16, and 8.17.
    •   January 19, 2024 – Bill Introduced in Senate (First Reading) (S. Rule 10.8).
    •   January 22, 2024 – Second Reading, Referred to Senate Committee (S. Rule 10.10)
    •   January 23, 2024 – Senate Committee Hearing / Committee Report / Bill reviewed by
        Legislative Bureau (S. Rule 10.11).
    •   January 24, 2024 – Committee report read to the Senate for information (Third Reading)
        (S. Rule 10.12).
    •   January 25, 2024 – Consideration of bill happens “on the day after the day on which the
        report is read.” See S. Rule 10.12; see also Senate Rules 10.6, 10.8, 10.10, 10.13 and
        10.14.
    •   January 25, 2024 – Bill debated on floor and passes with majority of Senate. See La.
        Const. Art. III, Sec. 15(G).
    •   January 25, 2024 – Bill sent to House without amendments and then delivered to
        governor for signing—must be delivered “within three days after passage.” See La.
        Const. Art. III, Sec. 17.
    •   January 25, 2024 – Law takes effect if the bill specifies that it becomes effective upon
        signature of the Governor. Otherwise, the law will take effect “on the sixtieth day after
        final adjournment of the extraordinary session” if the bill does not specify an earlier
        effective date. See La. Const. Art. III, Sec. 19
Thus, January 25, 2024, is the earliest date a new map could realistically be enacted, and that

assumes a delay-free political process beginning the day a new Governor and Legislature assume

their public offices.




                                                  5
        Case 3:22-cv-00211-SDD-SDJ              Document 311        11/22/23 Page 6 of 9




       Even if such a feat were accomplished, Plaintiffs’ suggestion that—if Plaintiffs challenged

the newly passed map on Section 2 grounds—the parties could adequately litigate the newly passed

map “in a preliminary injunction hearing or a trial on the merits starting on February 5,” (ECF No.

307 at 5–6), is unrealistic. This scenario would leave less than two weeks to amend the pleadings,

conduct all new discovery including expert disclosures and prepare for a new trial or preliminary

injunction hearing. That would be infeasible and invite prejudicial errors that could leave a ruling

vulnerable to reversal. That result benefits no one.

       Second, assuming there were no additional actions taken by the current or future

Legislature and Governor, the processes of converting the February remedial hearing into a trial

on the merits is not so simple as Plaintiffs suggest. As an initial matter, Plaintiffs are incorrect to

suggest that “there is substantial, if not complete, overlap between the discovery already

contemplated for the remedial hearing and any discovery necessary for trial.” (Id. at 5.) A hearing

on a remedial map is quite different from a Section 2 trial on HB 1, and there would be far from a

complete overlap in discovery relating to such different proceedings. Moreover, Louisiana is

currently concluding its 2023 elections. The results of those elections will inform new expert

analysis and, consequently, the parties’ arguments at the 2024 merits trial.

       Accordingly, it is Defendants’ position that trial be scheduled no fewer than 60 days after

the new Governor and the Legislature are sworn into office, i.e., the week of March 11th at the

earliest. A schedule along those lines will allow the newly elected officeholders “a meaningful

opportunity” to pass a new map. Robinson, No. 22-30333, 2023 U.S. App. LEXIS 30039, at *47

(citation omitted). It will also allow the parties to adequately prepare for a merits trial, should the

Legislature not act. Furthermore, a trial date on or after March 11, 2024, will allow the Court “to




                                                  6
        Case 3:22-cv-00211-SDD-SDJ             Document 311        11/22/23 Page 7 of 9




conclude all necessary proceedings in sufficient time to allow at least initial review by [the Fifth

Circuit] and for the result to be used for the 2024 Louisiana congressional elections.” Id. at *6–7.

                                         CONCLUSION

       For the foregoing reasons, Defendants agree that a status conference is necessary, but

propose a trial during or after the week of March 11, 2024, as superior to Plaintiffs’ proposal.

                                                     Respectfully submitted,

 /s/Jason B. Torchinsky                              /s/Angelique Duhon Freel
 Jason B. Torchinsky (DC 976033)*                    Jeffrey M. Landry (LSBA No. 29942)
 Phillip M. Gordon (DC 1531277)*                     Elizabeth B. Murrill (LSBA No. 20685)
 Holtzman Vogel Baran                                Shae McPhee (LSBA No. 38565)
 Torchinsky & Josefiak, PLLC                         Morgan Brungard (CO Bar No. 50265)*
 15405 John Marshall Highway                         Angelique Duhon Freel (LSBA No. 28561)
 Haymarket, VA 20169                                 Carey Tom Jones (LSBA No. 07474)
 (540) 341-8808 phone                                Jeffrey M. Wale (LSBA No. 36070)
 (540) 341-8809 fax                                  Office of the Attorney General
 jtorchinsky@holtzmanvogel.com                       Louisiana Department of Justice
                                                     1885 N. Third St.
 pgordon@holtzmanvogel.com
                                                     Baton Rouge, LA 70804
                                                     (225) 326-6000 phone
 Brennan A.R. Bowen (AZ 036639)*                     (225) 326-6098 fax
 Holtzman Vogel Baran                                LandryJ@ag.louisiana.gov
 Torchinsky & Josefiak, PLLC                         murrille@ag.louisiana.gov
 2575 East Camelback Rd, Ste 860                     freela@ag.louisiana.gov
 Phoenix, AZ 85016                                   walej@ag.louisiana.gov
 602-388-1262                                        jonescar@ag.louisiana.gov
 bbowen@holtzmanvogel.com                            mcphees@ag.louisiana.gov
                                                     brungardm@ag.louisiana.gov

 *Admitted Pro Hac Vice                              Jeff Landry
                                                     Louisiana Attorney General on behalf of the
                                                     State of Louisiana

 /s/ Phillip J. Strach*                              /s/ John C. Walsh
 phillip.strach@nelsonmullins.com                    John C. Walsh (Louisiana Bar Roll No.
 Thomas A. Farr*                                     24903)
 tom.farr@nelsonmullins.com                          john@scwllp.com
 John E. Branch, III*                                SHOWS, CALI & WALSH, L.L.P.
 john.branch@nelsonmullins.com                       P.O. Box 4046
 Alyssa M. Riggins*                                  Baton Rouge, LA 70821


                                                 7
      Case 3:22-cv-00211-SDD-SDJ         Document 311       11/22/23 Page 8 of 9




alyssa.riggins@nelsonmullins.com              Telephone: (225) 346-1461
Cassie A. Holt*                               Facsimile: (225) 346-5561
cassie.holt@nelsonmullins.com
NELSON MULLINS RILEY &
SCARBOROUGH LLP                               Counsel for Defendant R. Kyle Ardoin
301 Hillsborough St., Suite 1400              *Admitted Pro Hac Vice
Raleigh, NC 27603
Telephone: (919) 329-3800
Facsimile: (919) 329-3799


E. Mark Braden*                               /s/ Michael W. Mengis
Katherine L. McKnight*                        Michael W. Mengis, LA Bar No. 17994
Richard B. Raile*                             BAKERHOSTETLER LLP
BAKERHOSTETLER LLP                            811 Main Street, Suite 1100
1050 Connecticut Ave., N.W., Ste. 1100        Houston, Texas 77002
Washington, D.C. 20036                        Phone: (713) 751-1600
(202) 861-1500                                Fax: (713) 751-1717
mbraden@bakerlaw.com                          Email: mmengis@bakerlaw.com
kmcknight@bakerlaw.com
rraile@bakerlaw.com

Patrick T. Lewis*
BAKERHOSTETLER LLP                            Counsel for Legislative Intervenors, Clay
127 Public Square, Ste. 2000                  Schexnayder, in his Official Capacity as
Cleveland, Ohio 44114                         Speaker of the Louisiana House of
(216) 621-0200                                Representatives, and of Patrick Page Cortez,
plewis@bakerlaw.com                           in his Official Capacity as President of the
                                              Louisiana Senate
Erika Dackin Prouty*
BAKERHOSTETLER LLP
200 Civic Center Dr., Ste. 1200               * Admitted Pro Hac Vice
Columbus, Ohio 43215
(614) 228-1541
eprouty@bakerlaw.com




                                          8
        Case 3:22-cv-00211-SDD-SDJ           Document 311         11/22/23 Page 9 of 9




                                CERTIFICATE OF SERVICE

        I hereby certify that on November 22, 2023, a true and correct copy of the foregoing was

filed via the Court’s CM/ECF system and served via electronic filing upon all counsel of record in

this case.

 Dated: November 22, 2023                           /s/ Jason B. Torchinsky
                                                    JASON B. TORCHINSKY




                                                9
